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AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                for the
                                                      DistrictDistrict
                                                 __________    of Columbia
                                                                       of __________

                  United States of America                         )
                             v.                                    )
                    Duke Edward Wilson
                                                                   )      Case No.
                                                                   )
                                                                   )
                                                                   )
                                                                   )
                          Defendant(s)


                                                 CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   January 6, 2021              in the county of                                  in the
                       District of           Columbia          , the defendant(s) violated:

            Code Section                                                     Offense Description
18 U.S.C. § 111(a)(1)                           Assaulting a federal agent.
18 U.S.C. § 231(a)(3)                           Civil disorders.
18 U.S.C. §§ 1752(a)(1) and (2)                 Unlawful entry on restricted buildings or grounds.
18 U.S.C. § 1512(c)(2)                          Obstruction of an official proceeding.
40 U.S.C. §§ 5104(e)(2)(D) & (G)                Violent entry, disorderly conduct, and other offenses on capitol grounds.




         This criminal complaint is based on these facts:
See attached affidavit incorporated herein.




         u Continued on the attached sheet.


                                                                                              Complainant’s signature

                                                                                 Special Agent Donald August Mokenhaupt
                                                                                               Printed name and title
Attested to by the applicant in accordance with the
requirements of Fed. R. Crim. P. 4.1 by telephone.


Date:             04/13/2021
                                                                                                 Judge’s signature

City and state:                         Washington, D.C.                       Robin M. Meriweather, U.S. Magistrate Judge
                                                                                               Printed name and title
